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TITLE:        Stephanie Clifford v. Donald J. Trump et al.

========================================================================
PRESENT: THE HONORABLE S. JAMES OTERO, UNITED STATES DISTRICT JUDGE

Victor Paul Cruz                                    Not Present
Courtroom Clerk                                     Court Reporter

COUNSEL PRESENT FOR PLAINTIFF:                      COUNSEL PRESENT FOR DEFENDANTS:

Not Present                                         Not Present

========================================================================
PROCEEDINGS (in chambers): ORDER DENYING DEFENDANT MICHAEL COHEN'S EX
PARTE APPLICATION FOR A RESTRAINING ORDER [Docket No. 60]

This matter is before the Court on Defendant Michael Cohen's ("Mr. Cohen" or "Defendant") Ex
Parte Application for a Restraining Order Against Plaintiff's Counsel, Michael Avenatti
("Application"), filed June 14, 2018. Plaintiff Stephanie Clifford ("Ms. Clifford" or "Plaintiff")
opposed the Application ("Opposition") on June 25, 2018. Defendant replied ("Reply") on July 2,
2018. A hearing on the matter was held on July 27, 2018. For the following reasons, the Court
DENIES the Application.

I.     FACTUAL AND PROCEDURAL BACKGROUND

The alleged facts of this case concern an affair between the current President of the United States
and an adult film star, a non-disclosure agreement, and a lawyer's efforts to secure this agreement
just days before an election. Unsurprisingly, this case has garnered significant media attention
and an unprecedented level of public commentary from both the parties and their attorneys. (See
Order Denying Pl's Mot. for Reconsideration 2 [citing to public comments by Ms. Clifford,
Defendant Donald J. Trump ("Mr. Trump"), and legal representatives of both parties], ECF No. 63;
Decl. Michael J. Avenatti in Supp. Opp'n ("Avenatti Decl.") ¶¶ 11-23, Exs. 10-22 [listing
statements to the media or public by Mr. Cohen, Mr. Trump, and Rudy Giuliani ("Mr. Guiliani"), a
member of Mr. Trump's legal team], ECF No. 65-1.) No person involved in this action has been
more ubiquitous in the media than Michael Avenatti ("Mr. Avenatti"), Plaintiff's counsel.

In the Application, Defendant cites to over 170 television appearances and 439 public tweets by
Mr. Avenatti discussing facts and circumstances related to this case. (Decl. Brent H. Blakely in
Supp. Appl. ("Blakely Decl.") ¶¶ 4-5, Exs. C-D, ECF No. 60-1; Decl. Brent H. Blakely in Supp.
Reply ("Reply Decl."), ECF No. 66-1.) Mr. Avenatti's comments include statements that Mr.
Cohen "has a history of thuggish behavior" and "is going to be indicted within the next three
months" for "bank fraud, wire fraud, campaign finance violations" or "a whole host of potential
criminal conduct," (Blakely Decl. ¶¶ 23, 28 Exs. I, V), as well as speculation about the outcome
of various aspects of the case, including that "Judge Otero here in Los Angeles" will order Mr.

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Trump to appear for a deposition because he "is one of the best." (Blakely Decl. ¶ 15.) Mr. Cohen
also accuses Mr. Avenatti of publicly disseminating the private financial records of various persons
named "Michael Cohen," describing the records as "Possible Fraudulent and Illegal Financial
Transactions." (Appl. 15, Blakely Decl. ¶ 25, Ex. X.)

Mr. Avenatti's incessant commentary prompted Judge Kimba Wood, who is presiding over an
action filed by Mr. Cohen in the Southern District of New York (the "SDNY Action"), to admonish
him with the following:

       I've a different view from you, from the one you have expressed earlier as to what
       it is that would subject you to the standards for professional responsibility in this
       court.

       In my view, this matter, which is a potential precursor to a criminal trial if charges are
       filed against Mr. Cohen, I believe that once you are participating in this proceeding,
       you are subject to the New York Code of Responsibility 3.6 and the local rule for the
       Southern District of New York 23.1. That means that you would have to stop doing
       some things you have been doing. If you participate here, you would not be able to
       declare your opinion as to Mr. Cohen's guilt, which you did; you would not be able
       to give publicity to documents that are not public. It would change your conduct.
       That is my only possible role in doing what Mr. Cohen's lawyers want, which is, to
       essentially stop in its tracks your publicity tour on TV and elsewhere. And I say
       "publicity tour" not in a derogatory sense. You are entitled to publicity so long as–
       that is, I can't stop you, unless you are participating in this matter before me.

       So I either want you to participate or not be in the matter at all. I don't want you to
       have some existence in limbo, where you are free to denigrate Mr. Cohen and I
       believe potentially deprive him of a fair trial by tainting a jury pool. I know a jury, if
       there is one, is way down the road, and memories certainly may fade, but this
       conduct is inimicable to giving Mr. Cohen eventually a fair trial.

(Blakely Decl. ¶ 2, Ex. A ("5/30/18 Hearing Transcript") 27:12-28:13.) Soon after Judge Wood's
statements, Mr. Avenatti withdrew his application to be admitted pro hac vice in the SDNY Action.

Buoyed by Judge Wood's comments, on June 14, 2018, Defendant moved ex parte for an order
from this Court restraining Mr. Avenatti from making statements to the press and/or public
regarding: (1) the character, credibility, or reputation of a party and/or their respective counsel; (2)
the identity of a witness or the expected testimony of a party or witness; (3) the contents of any
testimony, admission, or statement given by a defendant or that person's refusal or failure to make
a statement; (4) the identity or nature of physical evidence expected to be presented or the
absence of such physical evidence; (5) the strengths or weaknesses of the case of either party;
and (6) any information the lawyer knows or reasonably should know is likely to be inadmissible

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as evidence and would create a substantial risk of prejudice if disclosed. (Appl. 18-19.) Finding
that "Defendant has not demonstrated . . . that immediate, irreparable injury would occur in the
absence of emergency ex parte relief," the Court opted to treat the Application as a regularly
noticed motion and set a briefing schedule pursuant to local rule. (Order Setting Briefing Schedule
1, ECF No. 61.) The Court also set a hearing for the matter on July 27, 2018. (Scheduling Notice;
ECF No. 64.)

II.      LEGAL STANDARD

The seminal case in the Ninth Circuit on the propriety of imposing a gag order on an attorney
during the pendency of a lawsuit is Levine v. U.S. Dist. Court for Cent. Dist. of California, 764 F.2d
590, 591 (9th Cir. 1985). The Levine court found that a district court order prohibiting an attorney
from making public comments on a case "is properly characterized as a prior restraint," which is
"subject to strict scrutiny because of the peculiar dangers presented by such restraints." Id. at
595. Under Levine, a gag order may only be imposed if "(1) the activity restrained poses either
a clear and present danger or a serious and imminent threat to a protected competing interest; (2)
the order is narrowly drawn; and (3) less restrictive alternatives are not available." Id. (citations
omitted).

The court noted that while "attorneys and trial participants do not lose their constitutional rights at
the courthouse door[,]" a restraining order imposed by a district court must be analyzed "in light
of the relationship between the petitioners and the court system." Id. at 595-596. In a criminal
proceeding, this relationship necessarily implicates the Sixth Amendment, which "unequivocally
impose[s] a duty upon trial courts to take affirmative steps to insure the fairness of a criminal
proceeding in the face of excessive publicity." Id. at 596. Nevertheless, for a restraining order to
meet constitutional muster, the restrained activity must pose "a serious and imminent threat to the
administration of justice." Id. at 598.

In Gentile v. State Bar of Nevada, a divided Supreme Court held that the "clear and present
danger" test does not apply to rules restricting speech for a lawyer participating before the courts.
501 U.S. 1030, 1072 (1991). Writing for the majority, Justice Rehnquist held that a Nevada
Supreme Court rule prohibiting attorneys from making extrajudicial statements that the attorney
"knows or reasonably should know . . . will have substantial likelihood of materially prejudicing an
adjudicative proceeding" is permissible under the First Amendment. Id. This is because:

         When a state regulation implicates First Amendment rights, the Court must balance
         those interests against the State's legitimate interest in regulating the activity in
         question. The "substantial likelihood" test embodied in Rule 177 is constitutional
         under this analysis, for it is designed to protect the integrity and fairness of a State's
         judicial system, and it imposes only narrow and necessary limitations on lawyers'
         speech. The limitations are aimed at two principal evils: (1) comments that are likely

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          to influence the actual outcome of the trial, and (2) comments that are likely to
          prejudice the jury venire, even if an untainted panel can ultimately be found. Few,
          if any, interests under the Constitution are more fundamental than the right to a fair
          trial by 'impartial' jurors, and an outcome affected by extrajudicial statements would
          violate that fundamental right . . . .

          The restraint on speech is narrowly tailored to achieve those objectives. The
          regulation of attorneys' speech is limited– it applies only to speech that is
          substantially likely to have a materially prejudicial effect; it is neutral as to points of
          view, applying equally to all attorneys participating in a pending case; and it merely
          postpones the attorneys' comments until after the trial.

Id. at 1075-76.

The constitutionality of a gag order in a civil proceeding was addressed by the Ninth Circuit in In
re Dan Farr Prods., 874 F.3d 590 (9th Cir. 2017), which dealt with a trademark dispute between
competing hosts of two comic and popular arts conventions. The district court in this action
imposed a gag order on the petitioners because they "posted on their websites and social media
platforms various news articles on the case, documents that are publicly available on the district
court docket, and their own opinions on the merits of the case and [the plaintiff's] conduct." Id. at
592. The Dan Farr court held that the restraining orders on the parties were unconstitutional prior
restraints as "[u]nlike other cases involving attorneys or the press, grisly crimes or national
security, the district court's orders silence one side of a vigorously litigated, run-of-the-mill civil
trademark proceeding" and are "unmoored from the interest they purport to protect– the integrity
of the San Diego-area jury pool." Id. at 596. Thus, the "district court clearly erred in determining
that Petitioner's speech presents a serious and imminent threat to a fair trial and that less
restrictive alternatives to a prior restraint on speech were unavailable." Id. at 596-597.

III.      DISCUSSION

At the outset, Defendant argues that after the Supreme Court's opinion in Gentile, the standard
articulated in Levine for prior restraint on litigating attorneys is no longer good law. (Reply 2 [citing
United States v. Wunsch, 84 F.3d 1110 (9th Cir. 1996); Standing Comm. on Discipline of U.S. Dist.
Court for Cent. Dist. of California v. Yagman, 55 F.3d 1430 (9th Cir. 1995); Zal v. Steppe, 968 F.2d
924 (9th Cir. 1992), as amended (July 31, 1992)], ECF No. 66.) Indeed, Gentile made it clear that
the "clear and present" danger portion of the test does not apply to an attorney whose speech
relates to proceedings before a court in which he or she is participating. 501 U.S. at 1072.
Following Gentile, the Ninth Circuit recognized in Dan Farr that "a lower standard applies to prior
restraints of attorneys participating in case." 874 F.3d at 593 n. 3. It is clear, based on these
opinions, that Levine's requirement that prohibited extrajudicial speech must present "a serious
and imminent threat to the administration of justice" no longer applies to attorneys presently

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participating in a proceeding before a court. Instead, these attorneys are subject to the
requirement that the statements are "substantially likely to have a materially prejudicial effect" on
that proceeding. See Gentile, 501 U.S. at 1075-76.

It is important to note that the majority of the post-Gentile cases cited by Defendant do not address
the constitutional standard for prior restraints, but rather, whether an attorney can be disciplined
by the Court for extrajudicial statements he or she has already made. See Wunsch, 84 F.3d at
1117 (holding that the district court improperly sanctioned an attorney for making sexist comments
outside the courtroom because there was no "substantial likelihood of material prejudice to an
adjudicative proceeding" under Gentile); Yagman, 55 F.3d at 1442 (assessing the constitutionality
of sanctions imposed on an attorney who made derogatory comments about a judge, citing Gentile
for the proposition that the "Supreme Court has held that speech otherwise entitled to full
constitutional protection may nonetheless be sanctioned if it obstructs or prejudices the
administration of justice"); see also Zal, 968 F.2d at 928 (holding that a contempt order imposed
by the trial court for violating an evidentiary order was proper as an attorney's right to free speech
inside the courtroom "is extremely circumscribed"). This distinction is important because the
First Amendment "afford[s] special protection against orders that prohibit the publication or
broadcast of particular information or commentary orders that impose a 'previous' or 'prior' restraint
on speech." Nebraska Press Ass'n v. Stuart, 427 U.S. 539, 556 (1976). "The special vice of a
prior restraint is that communication will be suppressed, either directly or by inducing excessive
caution in the speaker, before an adequate determination that it is unprotected by the First
Amendment." Pittsburgh Press Co. v. Pittsburgh Comm'n on Human Relations, 413 U.S. 376, 390
(1973). It is with this special protection in mind that the Court analyzes Defendant's request.

       A.      Substantially Likely to Have a Materially Prejudicial Effect on a Defendant's Right
               to a Fair Trial

Defendant spends the majority of the Application describing in detail the extensive publicity sought
by Mr. Avenatti regarding this case, but does not describe how this publicity would affect his right
to a fair trial in this action. As an initial matter, no trial date has been set, and this action has been
stayed for a number of months. It is far from clear that the publicity in this case would affect the
outcome of a trial that may happen, if at all, months down the road.

Defendant points out that "Plaintiff currently has pending a Motion for Expedited Trial," which
would create the potential of a jury trial within the next few months. (See Mot. to Expedite Jury
Trial, ECF No. 29.) If Plaintiff's motion is granted, however, the trial would be on the very narrow
issue of the validity of an arbitration clause in an agreement between Mr. Trump, Ms. Clifford, and
Essential Consultants, LLC ("EC"), Mr. Cohen's company. (See generally Mot to Expedite Jury
Trial.) Mr. Cohen is not a party to the agreement, nor does he receive benefits from the
agreement. While he certainly has an interest in moving the case to arbitration, the validity of an
arbitration agreement is an issue "far more banal than the subject matters of the criminal trials in

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which pretrial publicity has presented serious constitutional problems." Dan Farr, 874 F.3d at 594.

While the Court shares Judge Wood's concerns about the extent and manner of Mr. Avenatti's
publicity tour, the rights and issues involved in this action are far less consequential than the
potential criminal prosecution in New York. If Ms. Clifford succeeds in invalidating the agreement
between herself, Mr. Trump, and EC, Mr. Cohen suffers no identifiable loss.1 In fact, EC may even
be entitled to a return of the $130,000 allegedly paid by Mr. Cohen to Ms. Daniels on its behalf.
(See First Amended Complaint ("FAC") ¶ 27, ECF No. 14.) The sole cause of action asserted
against Mr. Cohen in his personal capacity is a claim for defamation, which must survive
Defendant's Motion to Strike and many other hurdles before a trial can even be contemplated.
(See Mot. to Strike, ECF No. 31.) It is clear that Mr. Cohen's worry is not about the effect of the
publicity on this litigation, but the effect of the publicity surrounding this action on the SDNY Action.
While this is a valid concern, this Court does not have the constitutional authority to impose a gag
order on an attorney due to the potential effect of his comments on a proceeding outside the
Court's jurisdiction.

The Supreme Court has made clear that prior restraints "are the most serious and least tolerable
infringement on First Amendment rights," Nebraska Press, 427 U.S. at 559, and Defendant must
clearly demonstrate why such a drastic measure is warranted. Mr. Cohen's Application, which is
largely bereft of substantive legal analysis, does not do so.

       B.      Narrowly Drawn

In upholding the diminished standard for prohibiting extrajudicial speech provided by the Nevada
Supreme Court, Justice Rehnquist emphasized that "[t]he restraint on speech is narrowly tailored
to achieve those objectives. The regulation of attorneys' speech is limited– it applies only to
speech that is substantially likely to have a materially prejudicial effect; it is neutral as to points of
view, applying equally to all attorneys participating in a pending case; and it merely postpones the
attorneys' comments until after the trial." Id. at 1075-76.

The restraining order requested by Defendant prohibits Mr. Avenatti from engaging in several
extraordinarily broad categories of speech, including commenting on the character, credibility, or
reputation of a party and/or their respective counsel, and the contents of any testimony,
admission, or statement given by a defendant or that person's refusal or failure to make a
statement. (Appl. 18-19.) Not only is this order specific to only one party, it plausibly prohibits Mr.
Avenatti from commenting on matters that are not substantially likely to have a materially
prejudicial effect on these proceedings.


   1
     The liquidated damages provided for in the agreement are payable to "DD," who Plaintiff
   alleges is Mr. Trump. (See FAC Ex. A § 5.1.2.)
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Moreover, the applicable timeline of the order is unclear. At this point in the proceedings, the
Court has not held a scheduling conference, has not ruled on several dispositive motions, and has
yet to narrow down the triable issues. A restraining order imposed at this stage could last months.
Given the breadth and scope of the order, this would almost certainly constitute an improper prior
restraint.

         C.    Less Restrictive Alternatives

Finally, less restrictive alternatives do exist to the imposition of a prior restraint at this stage. As
pointed out by Defendant in the Application, Mr. Avenatti must follow the Rules of Professional
Conduct of the State Bar of California and the local rules of this Court. (Appl.16; see also L.R. 83-
3.1.1, Cal. Code Prof. Conduct 5-120.) If Mr. Avenatti's extrajudicial statements improperly violate
these rules, he will be subject to discipline. Unless or until Defendant can demonstrate that Mr.
Avenatti's statements are substantially likely to impact his right to a fair trial in this action, however,
a prior restraint is impermissible.

IV.      STATUS OF THE STAY

On July 17, 2018, the parties filed a Joint Status Report on the status of the criminal investigation
against Mr. Cohen. (Joint Status Report, ECF No. 67.) As the criminal investigation is still
ongoing, and the government and a special master appointed by Judge Wood are still reviewing
relevant materials, Defendant requests that the Court extend the current stay another ninety (90)
days. (See Order Granting Def's Ex Parte Appl. to Stay Case, ECF No. 53; Joint Status Report
11.) Given the unusual nature of the proceedings in the SDNY Action, and the parties' diligence
in reviewing the materials, the Court agrees that a brief extension of the stay is warranted while
the scope of the criminal investigation is narrowed down. The Court will thus permit an extension
of the stay for forty-five (45) days.

V.       RULING

For the foregoing reasons, the Court DENIES Defendant's Ex Parte Application for Restraining
Order and CONTINUES the stay for forty-five (45) days. A scheduling conference will be held on
September 10, 2018 @ 8:30 a.m. The parties shall file a joint 26(f) report fourteen (14) days prior
to the scheduling conference.

IT IS SO ORDERED.




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